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                             No. 24-10277



               UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT



             INSURANCE MARKETING COALITION, LTD.
                          Petitioner,

                                   v.

          FEDERAL COMMUNICATIONS COMMISSION and
                UNITED STATES OF AMERICA,
                        Respondents.


                  On Petition for Review of an Order of
                the Federal Communications Commission



     REPLY TO RESPONDENTS’ OPPOSITION TO PROPOSED
     INTERVENTORS’ MOTION TO INTERVENE [ECF NO. 80]



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League                                  Intervenors
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                 CERTIFICATE OF INTERESTED PERSONS

      Under Eleventh Circuit Rules 26.1-1, 26.1-2(c), and 27-1(a)(10), undersigned

counsel for Proposed Intervenors certifies that the following is a full and complete

list of all persons, firms, associations, partnerships, and corporations, including

subsidiaries, conglomerates, affiliates, parent corporations, and other legal entities

having an interest in the outcome of this case:

      1. Aggarwal, Sameer, Covington & Burling LLP, counsel for Petitioner;

      2. Boeglin, John A., Covington & Burling LLP, former counsel for

         Petitioner;

      3. Carter, Carolyn, National Consumer Law Center, counsel for Amicus

         Curiae National Consumer Law Center;

      4. Citrin, Sarah E., Federal Communications Commission, counsel for

         Respondent;

      5. Covington & Burling LLP, counsel for Petitioner;

      6. Dix, Gerald, proposed Intervenor;

      7. Dori, Yaron, Covington & Burling LLP, counsel for Petitioner;

      8. Dunne, Matthew J., Federal Communications Commission, counsel for

         Respondent;

      9. Electronic Privacy Information Center, Amicus Curiae;
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    10. Ellison, P. Michele, Federal Communications Commission, counsel for

       Respondent;

    11. Federal Communications Commission, Respondent;

    12. Garcia, Nicholas, Public Knowledge, counsel for Amicus Curiae Public

       Knowledge;

    13. Garland, Merrick B., Department of Justice, Counsel for Respondent;

    14. Glover, Matthew J., Covington & Burling LLP, counsel for Petitioner;

    15. Greenburg, Sally, Intervenor National Consumers League;

    16. Insurance Marketing Coalition Limited, Petitioner;

    17. Iorio, Megan, Electronic Privacy Information Center, counsel for Amici

       Curiae;

    18. King, Kevin F., Covington & Burling LLP, counsel for Petitioner;

    19. Lewis, Jacob Matthew, Federal Communications Commission, counsel for

       Respondent;

    20. McNally, Christopher K., Intervenor;

    21. Mobley, Micah, Intervenor;

    22. Murray, Teresa, Amicus Curiae U.S. PIRG;

    23. National Consumer Law Center, Amicus Curiae and counsel for Intervenor

       National Consumers League;
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    24. National Consumers League, Intervenor;

    25. Nicholls, Leah M., Public Justice, counsel for Intervenors;

    26. Nicholson, Robert B., U.S. Department of Justice, counsel for Respondent;

    27. Osborne, Chuck, Intervenor;

    28. Pathak, Ashwin P. Office of the Attorney General for the DC, counsel for

       Amicus Curiae District of Columbia;

    29. Public Justice, counsel for Intervenors;

    30. Public Knowledge, Amicus Curiae;

    31. Saunders, Margot, National Consumer Law Center, counsel for Amicus

       Curiae National Consumer Law Center;

    32. Schwanbeck, Mark, Intervenor;

    33. State of Arizona, Amicus Curiae;

    34. State of California, Amicus Curiae;

    35. State of Colorado, Amicus Curiae;

    36. State of Connecticut, Amicus Curiae;

    37. State of Delaware, Amicus Curiae;

    38. State of Hawaii, Amicus Curiae;

    39. State of Illinois, Amicus Curiae;

    40. State of Maine, Amicus Curiae;
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    41. State of Maryland, Amicus Curiae;

    42. State of Massachusetts, Amicus Curiae;

    43. State of Michigan, Amicus Curiae;

    44. State of Minnesota, Amicus Curiae;

    45. State of Nevada, Amicus Curiae;

    46. State of New Jersey, Amicus Curiae;

    47. State of New York, Amicus Curiae;

    48. State of North Carolina, Amicus Curiae;

    49. State of Ohio, Amicus Curiae;

    50. State of Oregon, Amicus Curiae;

    51. State of Rhode Island, Amicus Curiae;

    52. State of South Carolina, Amicus Curiae;

    53. State of South Dakota, Amicus Curiae;

    54. State of Utah, Amicus Curiae;

    55. State of Vermont, Amicus Curiae;

    56. State of Virginia, Amicus Curiae;

    57. State of Washington, Amicus Curiae;

    58. State of West Virginia, Amicus Curiae;

    59. State of Wisconsin, Amicus Curiae;
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      60. U.S. Attorney Service- Northern District of Georgia, U.S. Department of

         Justice, counsel for Respondent;

      61. U.S. PIRG, Amicus Curiae;

      62. United States of America, Respondent;

      63. Wagner, Jennifer S., National Consumer Law Center, counsel for

         Intervenor National Consumers League;

      64. Wiggers, Robert J., U.S. Department of Justice, counsel for Respondent;

      65. Witte, Erin, Consumer Federation of America, counsel for Amicus Curiae

         Consumer Federation of America;


April 11, 2025                        /s/ Jennifer S. Wagner
                                      Jennifer S. Wagner

                                      Counsel for Proposed Intervenor
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                    INTRODUCTION AND BACKGROUND

      On January 24, 2025, the Federal Communications Commission (FCC)

abruptly changed position and, despite its prior strong opposition to a stay, agreed

to delay implementation of its 2023 Order requiring one-to-one consent for

telemarketing calls issued pursuant to its authority under the Telephone Consumer

Protection Act (the One-to-One Rule or Rule). Soon thereafter, in early February

2025, National Consumers League (NCL), Mark Schwanbeck, Micah Mobley,

Christopher McNally, and Chuck Osborne (collectively, Proposed Intervenors),

contacted the parties to this litigation to seek their position on intervention to defend

the One-to-One Rule. In part, Proposed Intervenors sought clarity on whether

Respondents FCC and the United States (collectively, the Government) planned to

continue their defense of the Rule or otherwise oppose Proposed Intervenors’

attempt to do so. While Petitioner Insurance Marketing Coalition, Ltd., (IMC)

expressed its opposition to the motion, the Government did not respond to these

inquiries.

      On February 19, 2025, Proposed Intervenors filed their motion to intervene to

defend the One-to-One Rule. Dkt. No. 63. Thereafter, IMC timely filed its response

to the motion and Proposed Intervenors filed their reply. Dkt. Nos. 66, 67. Again,

the Government did not respond or otherwise take a position on Proposed

Interventors’ motion.



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      On March 10, 2025, Proposed Intervenors timely filed a proposed Petition for

Rehearing En Banc, explaining that the panel decision conflicts with the United

States Supreme Court’s ruling in Loper Bright Enterprises v. Raimondo, 603 U.S.

369 (2024), and subsequent Eleventh Circuit decisions. Dkt. No. 68-2. The

Government did not seek rehearing or file a petition for certiorari requesting review

of the panel’s decision. On March 17, 2025, a bipartisan group of attorneys general

from twenty-seven states and the District of Columbia filed an amicus brief in

support of Proposed Intervenors’ petition for rehearing, describing how the Rule is

an indispensable tool for states to address the problems caused by the flood of

unwanted telemarketing and scam calls and the profound damage that would be

caused by upholding the panel decision, which would limit the FCC’s ability to

meaningfully address scam and unwanted robocalls into the future. Dkt. No. 76. A

proposed amicus brief in support of the petition for rehearing was also filed by

several national advocacy groups, who set forth the factual background of the Rule

and its necessity. Dkt. No. 72.

      On March 26, 2025, this Court ordered the Government to respond to the

pending motion to intervene. Dkt. No. 79. Only then did the Government take any

position on the pending motion. The Government now, for the first time, asserts that

Proposed Intervenors should not be permitted to intervene in this matter to defend

the Rule. But the Government has no basis to oppose the motion. In fact, its newly



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stated position only clarifies that good cause supports the timing of the motion to

intervene, because the Government has now confirmed that it is abandoning its prior

support of this critical Rule. Further, the Government’s assertion that Proposed

Intervenors should not be permitted to defend the Rule—at Proposed Intervenors’

sole expense—solely because the Government no longer wishes to no longer engage

in litigation is belied by the Hobbs Act and common sense. See 28 U.S.C.A. § 2348.

Respondents have a statutory responsibility to adopt rules such as the one at issue to

protect Americans from unauthorized robocalls. While they might now choose to

abrogate that responsibility by failing to pursue this litigation, they cannot legally

stop Proposed Intervenors from defending the Rule. Instead, Respondents’ effort to

undo their own rule by fiat rather than through required rulemaking process or

allowing this Court to consider the merits of Proposed Intervenors’ and Amici’s

arguments should be rejected.

                                   ARGUMENT

      The Government argues, first, that Proposed Intervenors’ motion is untimely

and, second, that the Court should exercise its discretion to bar intervention.

Proposed Intervenors address these arguments in detail in their reply to IMC’s

response to their motion to intervene and, in the interests of economy, incorporate

those arguments by reference herein. See Dkt. No. 67. Proposed Intervenors recap

their arguments in reference to the Government’s specific points below.



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    I.      The Motion Is Timely.

         In asserting that Proposed Intervenors’ motion is time-barred, the Government

misstates both the legal standard and Proposed Intervenors’ arguments. The

Government claims that Proposed Intervenors’ argument for timely intervention

relies solely on an assertion that they could not have intervened as of right earlier

under the standards set forth in Federal Rule of Civil Procedure 24(a). Dkt. No. 80

at 2-3. This is not the case. Rather, Proposed Intervenors seek to intervene pursuant

to Rule 15(d) of the Federal Rules of Appellate Procedure and Eleventh Circuit Rule

15-4. As Proposed Petitioners have previously explained, the motion is timely

pursuant to the Court’s authority to waive the deadline set forth in Rule 15(d) when

appropriate. See Dkt. No. 67 at 2-71 (citing, e.g., Int’l Union of Operating Eng’rs,

Loc. 18 v. Nat’l Lab. Rels. Bd., 837 F.3d 593, 595 (6th Cir. 2016); Zeigler Coal Co.

v. Off. of Workers’ Comp. Programs, 490 F.3d 609, 610 n.1 (7th Cir. 2007); United

Gas Pipe Line Co. v. FERC, 824 F.2d 417, 436 n.22 (5th Cir. 1987); Brown v. Dir.,

Off. of Workers’ Comp. Programs, U.S. Dep’t of Lab., 864 F.2d 120, 123 (11th Cir.

1989); Fed. R. App. P. 2(a); Torres v. Oakland Scavenger Co., 487 U.S. 312, 314

(1988)).




1
 Citations to Proposed Intervenors’ previously filed reply brief are to the page
numbers found at the bottom of the pages, rather than those in blue created by the
ECF system.

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      As explained in Proposed Intervenors’ prior briefing, good cause exists to

allow the present motion because Proposed Intervenors reasonably believed that the

Government would defend its own Rule until it reversed position shortly before

Proposed Intervenors filed their motion. The Government argues this Court should

require any potential intervenor—including those who could not intervene as of

right, such as the individual Proposed Intervenors who did not participate in the

proceeding below—to intervene at the very inception of the case, even when their

interests are fully protected. But such a requirement would impose significant

unnecessary costs on the parties, the Court, and the potential intervenors, and would

create significant inefficiencies. See Dkt. No. 67 at 3-4 (citing United Airlines, Inc.

v. McDonald, 432 U.S. 385, 394 n.15 (1977)). Such a requirement would also

contravene the purposes of the Hobbs Act, which does not impose a timing

requirement on intervention, although it does explicitly state that intervenors may

take action when the government fails to act. See 28 U.S.C.A. § 2348; see also Dkt.

No. 67 at 4.

      The timeliness standard in Federal Rule of Civil Procedure 24 comes into play

because “appellate courts have turned to the rules governing intervention in the

district courts under Fed. R. Civ. P. 24.” Sierra Club, Inc. v. E.P.A., 358 F.3d 516,

517-18 (7th Cir. 2004) (granting motion to intervene where intervention is necessary

to pursue a party’s interest when the government decides not to pursue en banc



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review or a petition for certiorari before the Supreme Court). This standard—which

requires intervention only where the proposed intervenor’s interests will not be

protected by a party—mitigates in favor of allowing intervention here, where the

Government has only now made clear that it has stopped defense of the Rule.

         In short, equity and good cause support permitting Proposed Intervenors to

participate in this litigation to advance their request for a rehearing of the panel

decision and participate in any subsequent briefing and argument on the merits.

   II.      Allowing Intervention Serves the Purposes of the Hobbs Act and Does
            Not “Undermine” the Government.

         The Government argues that Proposed Intervenors should not be permitted to

defend the Rule because to allow them to do so “would undermine the government’s

prerogative to determine when and how to conduct litigation regarding an FCC rule.”

Dkt. No. 80 at 6. This is simply not the case. Rather, the Government’s argument is

contradicted by the Hobbs Act and common sense.

         As the Government recognizes, Dkt. No. 80 at 7 n.2, the Hobbs Act expressly

permits intervenors to “prosecute, defend, or continue the proceeding” without

regard to the Government’s “action or inaction.” 28 U.S.C.A. § 2348. By its very

terms, the statute requires that the Court allow cases to proceed even if the

Government chooses not to proceed with litigation, directly contradicting the

Government’s argument. Moreover, if this Court grants the motion to intervene, the

effect will only be to allow Proposed Intervenors to pursue their petition for

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rehearing and any subsequent briefing and argument on the merits, at their own cost.

This has no impact on the Government whatsoever. The Government can continue

to proceed with its own litigation decisions, as it has already done, including

stepping aside and not seeking rehearing and choosing not to participate in any

further briefing or argument if it so wishes.2

      The Government cites one case in support of its position: United States v.

Mendoza, 464 U.S. 154 (1984). But Mendoza has no relevance here. Mendoza does

not arise under the Hobbs Act, does not address intervention, and does not even

relate to the standards or law relevant to this motion. Instead, it considers application

of the doctrine of nonmutual collateral estoppel to the United States government.

Here, none of the same concerns or policy decisions arise—Congress was clear in

passing the Hobbs Act that third parties could, and should, have the opportunity to




2
  The only way in which Proposed Intervenors’ defense of the Rule could potentially
interfere with the Government’s decision-making is if the Government’s intent in
declining to seek rehearing is to, in effect, repeal the Rule without complying with
the Administrative Procedures Act’s procedural requirements for such a repeal. See
5 U.S.C. § 551(5) (“‘rule making’ means agency process for formulating, amending,
or repealing a rule”); 5 U.S.C. § 553 (setting forth notice and comment requirements
for rule making); Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 101 (2015) (“§ 2 of
the APA . . . mandate[s] that agencies use the same procedures when they amend or
repeal a rule as they used to issue the rule in the first instance”); see also FCC,
Rulemaking Process, https://www.fcc.gov/about-fcc/rulemaking-process (last
visited Apr. 8, 2025). Of course, this would not be a legitimate reason to bar
Proposed Intervenors from their continued defense of this properly enacted Rule that
carries out the FCC’s statutory duty to regulate robocalls.

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continue litigation to defend a Rule regardless of the Government’s litigation

decisions.

                                CONCLUSION

      For these reasons, the motion to intervene should be granted.

April 11, 2025                        Respectfully Submitted,

                                      /s/ Leah M. Nicholls
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                      CERTIFICATE OF COMPLIANCE

      The foregoing motion complies with the length limit of Fed. R. App. P.

27(d)(2) because, excluding the parts exempted by Fed. R. App. P. 32(f), it contains

1,763 words. This motion complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in proportionally spaced typeface, using Microsoft Word, in Times

New Roman 14-point font.


April 11, 2025                         /s/ Jennifer S. Wagner
                                       Jennifer S. Wagner

                                       Counsel for Proposed Intervenor
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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 11, 2025, the foregoing reply was filed

electronically with the Clerk of Court through the appellate CM/ECF system. I

further certify that all parties required to be served have been served.


April 11, 2025                          /s/ Jennifer S. Wagner
                                        Jennifer S. Wagner

                                        Counsel for Proposed Intervenor
